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EXHIBIT X

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

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IN RE: PHARMACEUTICAL : MDL NO. 1456

INDUSTRY AVERAGE WHOLESALE : CIVIL ACTION

PRICE LITIGATION : 01-CV-12257-PBS
vs.

THIS DOCUMENT RELATES TO : HIGHLY

U.S. ex rel. Ven-A-Care of : CONFIDENTIAL

The Florida Keys, Inc.

v. Abbott Laboratories,

Inc., No. 06-CV-11337-PBS

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Oral Deposition of NANCY MOLYNEAUX, was
taken pursuant to notice at the Law Offices of Morgan
Lewis, 1701 Market Street, Philadelphia,
Pennsylvania, on Thursday, January 11, 2007,
beginning at 10:00 a.m., before Jeanne Christian,

Court Reporter-Notary Public, there being present.

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Ven-A-Care had provided to your office at this
time?
A. I don't remember.
Q. In the second sentence, Mr. Vito wrote,
"We would like to make one more request for
information at this time. During our discussions,
you made us aware that you had several catalogs
from manufacturers and buying groups that could
provide us with pricing information on
prescription drugs. We would like very much to
examine this information. Would you be able to
send us the original catalogs for our review?"
And my question is, do you recall
receiving any original catalogs from Ven-A-Care?
A. No, I do not.
Q. Any reason to believe that you did not
receive such documents?
MR. NEAL: I object to the form.
THE WITNESS: No.
MR. TORBORG: We will do one more, and
then we will take a break. Mark this as Exhibit

Abbott 024, please.

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inhalation pharmaceutical reimbursement to
reasonable levels contemplated by the enabling
legislation. VAC is particularly concerned now
about a continuing practice of the Medicare and
Medicaid Programs of paying exorbitant
reimbursement for infusion and inhalation drugs
which results in more than one million dollars per
year of federal funds being wasted. Ven-A-Care's
efforts to date have not resulted in much needed
changes."

And my question again will be, do you
recall working with Ven-A-Care on the topic of
excessive payments for infusion and inhalation
pharmaceutical reimbursements?

MS. POLLACK: I object to the form of
the question. There is no foundation.

THE WITNESS: What do you mean by
working with?

BY MR.TORBORG:
Q. Did you ever discuss excessive payments
for infusion and inhalation pharmaceutical

products with Ven-A-Care?

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A. I believe so, but I do not recall a

particular conversation.

Q. What do you recall about these
conversations?
A. Just the conclusion that Medicare, in

particular, was paying too much.

Q. Do you recall any time frame when that
conversation may have occurred?

A. Probably around the time that I was
working on the TPN report, in 1996 or so.

Q. To the best of your recollection, was
the TPN report the first time that you became
aware that there was a large difference between
the amount that Medicare was reimbursing for
infusion and parenteral drugs versus the
acquisition cost of providers?

A. Yes.

Q. If I could ask you to flip to the second
page of this document, there is a paragraph toward
the bottom of the page that says over a year ago.

Do you see that?

A. Um-hum.

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